Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 1 of 23




           UICK RESPONSE
           EVALUATION
Acc racy ofth HelpA                           rica V t
 Verif'beati Pr gra                      8    sp s s
       Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 2 of 23




                                    Mission

By conducting independent and objective audits, evaluations and investigations,
we inspire public confidence in the integrity and security of SSA's programs and
operations and protect them against fraud, waste and abuse. We provide timely,
useful and reliable information and advice to Administration officials, Congress
and the public.

                                   AUIIhority

The Inspector Generall Act created independent audit and investigative units,
called the Gffice of Inspector General (GIG). The mission of'he GIG, as spelled
out in the Act, is to:

  Q Conduct and supervise independent and objective audits and
    investigations relating to agency programs and operations.
    Promote economy, effectiveness, and efficiency within the agency.
  Q Pl'event and detect fraucll, waste, and abuse In agency prograITIS and
    o pe ratl o ns.
  Q Review and make recommendations regarding existing and proposed
    legislation and regulations relating to agency programs and operations.
  Q Keep the agency head and the Congress fully and currently informed of
    problems in agency programs and operations.




                                     Vision
We strive for continual irnprovernent in SSA's programs, operations and
management by proactively seeking new ways to prevent and deter fraud, waste
and abuse. We commit to integrity and excellence by supporting an environment
that provides a valuable public service while encouraging employee development
and retention and fostering diversity and innovation.
        Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 3 of 23




                                                                                   B kgro
OBJECTIVE
Gur objective was to assess the accuracy of the verification responses provided by the
Help America Vote Verification (HAVV) program.

 ACKGROUMD

Gn Gctober 29, 2002, the President signed Public Law Number (Pub. L. No.)                            107-252,'he




     Help America Vote Act of 2002 (HAVA), which mandates that States verify the
information of newly registered voters. HAVA places certain requirements on the Social
Security Administration (SSA) for verifying information to be used in each State's voter
registration process. Section 303 requires that each State establish a computerized
State-wide voter registration list and verify voter information with the State's motor
vehicle authority or SSA. The States are required to first verify the driver's license
number (if one exists) against the State's Motor Vehicle Administration (MVA) database.
In situations where no driver's license exists, the States are to verify the applicant's
name, date of birth (DoB), and the last four digits of the applicant's SSN with SSA. In
addition, SSA is required to report whether its records indicate an applicant is
deceased.

To comply with the section 303 requirement for SSA to verify information using the last
four digits of the SSN, SSA developed HA~, an online system that allows the MVAs to
submit the required voter applicant information for verification.'SA receives the
verification information from the American Association of Motor Vehicle Administrators
(AAMVA), which receives the data from each State's MVA.'AVV uses the last four
digits of the SSN to perform the initial match against the Alphident, a database that
allows SSA to search the Agency's master file of all assigned SSNs based on name and
DoB information. Then the resulting matched record(s) are compared with SSA's
Numident File, which is the repository of all issued

                                                                      SSNs.'ub.




      L. No.   107-252 g 303, 42      U   S C. gg 15483, 405(r)(8)
 See Appendix    l3   for a flowchart of the HAVV process.

 The entity assists    all MVAs and   SSA     by serving   as an electronic information conduit between them
'he    Numident is a record of identifying information (such as name, DoB, date of death, mother's maiden
name, etc.) provided by the applicant on his or her Application for a Sociai Security Number (Form SS-5)
for an original SSN card and subsequent applications for replacement SSN cards Each record is housed
in the Numident Master File.
                  Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 4 of 23




As of December 2008, we found 46 States and territories'VAs had signed user
agreements with SSA to use the HAVV system when a voter registration applicant who
does not have a driver's license number provides the last four digits of their SSN for
verification purposes. in Fiscal Year (FY) 2008, 41 of the 46 States and territories
submitted about 7.7 million verification requests. Of the 7.7 million verification requests,
SSA provided a "match" response for 5.3 million (69 percent) of the items and a
"no-match" response for 2.4 million (31 percent) of the items. While 69 percent of the
verification requests matched SSA records, SSA provided match responses that
indicated there were single and multiple matches. This occurs because the last four
digits of the SSN is not a unique identifier. A single match indicates that the input data
matched only one record in SSA's database. However, a multiple match indicates that
two or more individuals in SSA's records were determined to have the same
characteristics                   —
                  name, l3oB, and last four digits of the SSN (see Table 1 below).




    Unprocessed                   (invalid data provided)                                                            3,824     (

    No-Matches                                                                                                   2,366,922
    Matches                                                                                                      5,323,408,
~
    Total   HA~ Transactions                                                                                     7,694,164

    Single Match Alive                                                                                           5,266,119




                                   Mixed'53
    Single Match Deceased                                                                                           56,054
    Multiple              Match Alive"                                                                               1,077
    Multiple Match                 Deceased'
'ultiple                  Match                                                                                                l




    Subtotal:                                                                                                    5,323,408
        Note              1:   A multiple match alive response indicates that SSA    records include two or more individuals
                               with the same characteristics and they are alive.
        Note 2: A multiple match deceased response indicates that SSA records include two or more
                individuals with the same charactenstics and they are deceased
        Note 3: A multiple match mixed response indicates that SSA records include two or more
                individuals with the same characteristics but at least one individual is alive and the other is
                               deceased.




    SSA has implemented                      several other verification programs that allow State agencies,
employers,                     and third-party   submitters to match the names and SSNs of individuals in
    SSA's
            records.'ee




         Appendix                 E for a complete descnption of these verification programs.
          Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 5 of 23




s   Social Security Online Verification (SSQLV) allows State MVAs to verify names
    and SSNs for applicants for drivers'icenses and State identification cards. SSOLV
    transactions are routed to SSA through AAMVA. Currently, 48 States are registered
    to use SSGLV.

o   Social Security Number Venfication Service (SSNVS)           is an online program, with
    a batch option, that allows employers and third party submitters to verify   employees'ames




            and SSNs. SSNVS ensures employees'ames and SSNs match SSA
    records before their wage reports are submitted to SSA. As of March 2009, about
    167,000 employers had approximately 221,000 employees registered to use
    SSNVS.

    E-Verify, formerly known as the Basic Pilot/Employment Eligibility Verification, is a
    joint initiative administered by the Department of Homeland Security (DHS) to verify
    the employment eligibility of newly hired employees. Participating employers
    register online with DHS to use the voluntary program. The information the
    employer submits to DHS is sent to SSA to verify the name, SSN, and DoB match
    SSA's records. SSA also provides DHS with work eligibility information based on
    data in SSA records. DHS confirms the current employment-authorization       for non-
    citizens. As of December 4, 2008, more than 96,000 employers had registered to
    use




          E-Verify.'nited




        States Department of Homeland Security Office of Citizenship 8 Immigration Services
Ombudsman, Observations on the E-VerI'fy Experience in Arizona 8 Recommended Customer Serwce
Enhancements, p 3 December 22, 2008.
        Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 6 of 23




SSA's    HAVV program was established to assist States with verifying the accuracy of
voter information for newly registered voters. Gur review found the HAVV program did
not always provide States with accurate verification responses for individuals who were
registering to vote. We determined the HAVV program had a significantly higher
no-match response rate when compared to other verification programs used by States
and employers. HAVV's no-match response rate was 31 percent, while the no-match
response rate for other verification programs used by States and employers ranged
from 6 to 15 percent. Additionally, we determined the HAVV program did not provide
consistent verification responses to the States when the same applicant data were
entered into the program. For example, States were provided responses for at least
356 applicants that initially indicated a match response but subsequently the States
were provided a no-match response when the same data (name, SSN, l3oB, and last
four digits of the SSN) were entered into the verification program."

We believe the high no-match response rate and the inconsistent verification responses
can be attributed to the lack of ( i) a unique identifier (full SSN), (2) flexible matching
criteria, and (3) testing to assess the accuracy of the verification responses. Because of
the limitations of the matching criteria established by the legislation, the HAVV program
may indicate a no-match when a match does in fact exist in SSA records. SSA does
alert the States of some of the inherent problems in attempting verifications using only
the last four digits of an SSN. The User Agreements between the State, MVA and SSA,
state "...   because SSA's enumeration records are based on a complete and unique
9 digit SSN, verification using only the last 4 digits of that number are inherently a partial
rather than the full '9 digit'erification and may result in multiple positive matches or
false positive matches of information." However, the high no-match response rate and
the inconsistent verification responses could hinder the States'bility to determine
whether applicants should be allowed to vote.



Gur comparison of the FY 2008 verification responses for HAVV and three other
verification programs used by the States and employers                  —
                                                              SSNVS, E-Verify, and
        —
SSGLV showed that HAVV had a significantly higher no-match response rate (see
Table 2). The three verification systems were developed for different purposes and use
varying toler'ances because they require the full nine-digit SSN for ver'Iflcatlon. HA~,
on the other hand, does not use these same tolerances because it requires use of the
last four digits of the SSN as mandated by the legislation.



 See page 7 for more details about the inconsistent venfication responses.

 See Appendix E for a descllption of SSA othei   verification   programs.
              Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 7 of 23




    The no-match response rate for the three other programs ranged from 6 to 15 percent,
    whereas HAVV's no-match response rate was 31 percent. Therefore, HAVV's
    no-match response rate was about two to five times higher than the no-match response
    rate for the other three programs. For example, the HAVV no-match response rate was
    5 times higher than the no-match response rate for SSA's SSNVS program, which is an
    SSN verification program used by employers to ensure accurate wage reporting. In
    FY 2008, the no-match response rate for SSNVS was 6 percent.

    There could be several factors that contribute to the higher than expected no-match
    response rate for HAVV, such as individuals deliberately providing the States with
    invalid information (name, DoB, last four digits of the SSN). However, another
    contributing factor is the limitation of the HAVV matching criteria. As stated previously,
    HAVV does not use a truly unique identifier, such as the full SSN to match voter
    information to its records. In addition, the HAVV program does not allow flexibility with
    matching the name and DoB to its records to compensate for typographical errors, other
    common database errors, and mistakes because it does not use the full SSN. Because
    of the limitations of the matching criteria established by the legislation, HAVV may be
    providing a high number of false negative responses to the States, which may lead to
    applicants having difficulty while registering to vote.

                                   Table 2: Comparison of SSA Verification
                                  Programs     —
                                             Verification Requests (millions)



    Matched                89.1                                               179          69      ,',
                                                                                                         53         i
                                                                                                                            69
    No Match                6.0
    Citizenship            N/A                                     6          N/A                        N/A
        Total
I
    Transactions           96.1          166         7.6         1M          26.2          166           7.7            1M
                  Since E-Verify is the only verification program that includes citizenshIp as a venfication factor,
                  we separately identified the citizenship no match responses As such, E-Verify's total no
                  match response rate is 15 percent for name, SSN, and citizenship. By companson, E-Verify's
                  no match response rate is less that half ot HAVV even though E-Verify used more verification
                  factors.




    HAVV is the only   SSA verification program that does not use the full SSN to perform the
    match to SSA records. HAVA mandates that SSA verify the last four digits of the SSN
    along with the name and DoB if the voter applicant has not been issued a driver'
    license, which is an inherent limitation because the last four digits of the SSN is not a
    unique identifier. Since SSA is limited to using the last four digits of the SSN, it has to


     8/e plan to conduct a separate review that will focus on States'se of the HAVV program.              It will   cover
    actions taken by States when they received a no-match response from SSA.
         Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 8 of 23




use two databases, Alphident and Numident, to verify the HAVV input data. However,
for SSNVS, E-Verify, and SSGLV, SSA only uses the Numident to match input data
because the full SSN is provided. For HAVV, initially SSA matches the last four digits of
the SSN against the Alphident, which is a database that contains records that allow
SSA to search its master file of all assigned SSNs using the individual's name and l3oB.
To match against the Alphident, HAVV uses a soundex code based on the last name,"'
  portion of the first name, and the month and year of birth. The resulting matched
record(s) are then compared with SSA's Numident               —
                                                      the repository of all issued SSNs-
using the full first and last names.

As SSA does not receive the full SSN for verification, it is possible it will provide States
with a verification response that indicates more than one person met the criteria.
According to SSA, this occurs because up to 40,000 numberholders possibly share
SSNs that have the same last four digits, which could result in duplicate matches for the
HAVV program. For example, in FY 2008, SSA provided about 1,200 multiple
responses to the States, which meant 2 or more individuals were determined to have
the same characteristics-name,     DoB, and last four digits of the SSN (see Table 1). ln
fact, for 153 of these cases, the response indicated that individuals with the same
characteristics were both alive and deceased.

Name Tolerances

The name-matching criteria for the HAVV program are more rigid than SSOLV, SSNVS,
and the E-verify verification program. We found that the other verification programs
used at least seven name tolerances to determine whether a name matches SSA's
records, because of the inherent risk with matching information to large databases. For
example, the three programs will match based on a portion of the last name and the first
and middle initials. The name tolerances allow flexibility in matching the input data to
account for typographical errors and other mistakes that generally exist within large
databases. HAVV on the other hand, searches for exact matches on the full first and
last name, which is problematic because it does not consider possible human error (that
is, data entry errors, transpositions, and nicknames). For example, the HAVV program
would provide a no-match response for the common errors shown in Table 3 below.
However, the other three verification programs would have provided a positive match
response for the same data. We found that about 83,000 of the 2.4 million HAVV
no-match responses were provided because of errors associated with first or last
names.




    Soundexing is the idea of indexing information by how it sounds rather than spelled   HAVV   uses the
first letter of the input last name in con]unction with the American Soundex System.
        Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 9 of 23




       Tf'ansposltlon                        Mary Simth                     Mary Smith
       Missing letters                       Mary Smth                      Mary Smith
       Extraneous letters                   Mary Smmith                     Mary Smith
       Nicknames                             Greg Smith                   Gregory Smith

In addition, HAVV does not recognize compound names that do not exactly match the
Numident. For example, if a compound name is reported as Mary Jones-Smith but the
Numident includes Mary Smith, HAVV would provide a no match response. However,
SSNVS, E-Verify, and SSGLV would provide a match response for the same data. We
found that about 65,000 of the 2.4 million HAVV no-match responses related to
conlpouflcl names.




HAVV   does not allow for variations      in the l3oB unlike the other three verification
programs.     Under HAVV, the l3oB must match SSA's records exactly or a no-match
response is provided."" However, the other verification programs allow for a variation in
the DoB to receive a positive match response. For example, if the Numident showed
the l3oB was January 10, 1990 and January 1, 1991 was input into the E-Verify program
by mistake, a positive match response would be provided. However, HAVV would have
pf Gvlclecl a flo-nlatch I"Bspoflse In this Instance.




We found the HAVV program did not always provide consistent verification responses to
the States when the same applicant data were entered into the HAVV program. We
identified at least 356 applicants for whom HAVV initially provided a match response
and later provided a no-match response when the same data (name, SSN, DoB, and
last 4 digits of the SSN) were entered. These responses were provided to nine different
States, as shown in Figure 1. Ghio received 244 (69 percent) of the inconsistent
responses followed by Alabama with BG inconsistent responses (22 percent).




  For the Doa, SSA uses only the month and year of birth as part of the matching critena.
          Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 10 of 23




   200-




   100-                   80


    50-


      0           4            I        I                         I           I

             oH       AL           IN         GA             NY       CA           UT           AZ      PA

According to SSA officials, the inconsistent verification responses occurred because of
a conversion issue that arose in the 1970s. When SSN records were converted from
computer cards to tapes in 1972, a conversion indicator was entered on records where
certain conditions existed. Gne of those conditions was a mismatch between the
Alphident and Numident. The mismatch could relate to instances where a Numident
record existed but an Alphident record did not or vice versa. SSA estimated there were
about 4 million records assigned the conversion indicator. l3uring the initial
development of the HAVV program, SSA decided to provide a no-match response to the
States for the records that contained the conversion indicator.
However, in Gctober 2007 when SSA converted the Numident from the Master l3ata
Access Method (MADAM)" to a relational database, the Alphident file ceased to exist
as a separate database and became part of the Numident. l3uring that transition, SSA
did not copy the conversion indicators to the new system. As a result, the Agency
provided a match response to the States for the records that contained a mismatch
betvveen the Alphident and Numident. SSA realized this error, and the conversion
indicator was reinstated by April 2008. SSA officials believed the extent of this anomaly
was minor because the time the condition existed was limited to late Gctober 2007 to
early April 2008. In addition, they believed the potential universe of affected SSNs
marked with a conversion indicator represented about 4 million (less than 1 percent) of
the 455 million Numident records.




  MADAM Is Brl In-hGUsB    BccBss mBthGcl   clBslgrlBcl tG   BccBss SSA s   FlBJGI IT18stBl IBcGl'cls
      Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 11 of 23




TESTIIMG LIIMITATIlONS

Although HAVV is the only SSN verification program that does not use the full SSN as
part of the matching criteria, SSA has not conducted any tests or studies that assessed
the accuracy of the HAVV verification responses provided to the States. The agency
has conducted integration testing with each State MVA prior to providing them access to
HAVV to ensure proper network connection. Further, the agency has conducted
internal validation testing when making any coding changes to the HAVV system. One
reason SSA did not assess the accuracy of verification responses because it did not
have the capability to submit sample data through the HAVV program. As part of our
review, we requested access to the HAVV program to submit sample data to determine
whether the high no-match response rate was appropriate. However, Agency staff
informed us that when the HAVV program was designed, the Agency did not build an
in-house test facility. Therefore, if they were to submit sample data through the HAVV
program, they would need to coordinate with 'I of the 46 States and territories registered
to use HA~. We believe by not conducting any tests or studies to determine the
accuracy rate, the Agency does not know whether the program is providing the States a
high or low rate of false positives or false negatives. In addition, we believe the
inconsistent responses and the higher than expected no-match response rate
demonstrates that the HAVV responses were not always accurate.



The Congress was interested in learning whether the verification of applicants'ata
against SSA records were appropriate for establishing the voter registration list. As part
of HAVA, the Congress had requested that the Election Assistance Commission (EAC),
a new agency created under HAVA, in consultation with SSA, determine the feasibility
and advisability of using SSNs or other information to establish voter registration.
Specifically, Section 244 (b)" of HAVA states,

      Not later than 18 months after the date on which section 363(a)(5) takes
      effect, the Commission,        in consultation   with the Commissioner      of Social
      Security,  shall study and report to Congress on the feasibility and advisability
      of using Social Security identification numbers or other information compiled
      by the Social Security Administration       to establish voter registration or other
      election law eligibility or identification requirements, including the matching of
      relevant information specific to an individual voter, the impact of such use on
      national   security issues, and whether adequate safeguards                or waiver
      procedures exist to protect the privacy of an individual voter.

We found that as of May 31, 2009, the EAC had not prepared or submitted the
mandated report, which was due to the Congress in July 2005. After consulting with the
EAC and SSA, we learned that the report had not been submitted to the Congress
because the EAC had terminated a contract it awarded in 2006 to a vendor to conduct
       Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 12 of 23




the feasibility study on its behalf. In late 2007, the EAC contacted SSA to request the
Agency conduct the feasibility study. In January 2008, SSA informed the EAC that it did
not believe the Congress intended for SSA to conduct the feasibility study and report.
SSA informed the EAC that it would be inappropriate for SSA to conduct this study
since Congress intended that the independent Commission conduct an objective
assessment of the use of Social Security information for elections in relation to other
issues such as national security and privacy, areas in which SSA itself would have to
rely on outside expertise. As required by HAVA, SSA did inform the EAC it would fulfill
the consultation requirement mandated by the legislation by providing the EAC with
(1) the status of State HAVA agreement execution and sample agreements, (2) HAVA
verlflcatlon data for partlclpatlng States Bnd terlltorles, (3) systelTlatlc descriptions Gf the
HAVA verification process, and (4) other background information for the report relevant
to SSA's role in the HAVA verification process. In November 2008, an EAC
representative informed us that to satisfy the reporting requirement for HAVA, they
expect to issue a policy memorandum to the Congress in 2009 with the assistance of
SSA."'e        believe SSA should work with the EAC to prepare the policy memorandum
for the Congress and encourage the EAC to ensure the memorandum addresses the
limitations and potential risks (risk of providing a high rate of false positives or false
negatives to the States) of using the last four digits of the SSN to verify the identity of an
individual registering to vote.




  See Appendix F for concerns expressed by House committee members regarding   HAVA requirements
and its impact on eligible voters
       Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 13 of 23




                                   M tter             for Co sid r tio
Based on our review of SSA's HAVV matching criteria and verification responses, SSA
did not always provide the States with accurate verification responses because of the
limitation of using the last four digits of the SSN to match data to its records. Since SSA
is mandated to use the last four digits of the SSN, the HAVV program provided the
States with responses that may have prevented eligible individuals from registering to
vote and allowed ineligible individuals to vote. Given    that the HAVV verification
responses are used as part of the process to approve       or deny an applicant's right to
vote, SSA should consider working with the States to      develop an acceptable level of
false negative or false positive verification responses   for HAVV that would provide
assurance to the States of the reliability of the data.

Furthermore,   SSA should continue to work    with the EAC to allow the EAC to provide the
Congress with the mandated report. As part of this process, the Agency should ensure
that the EAC is aware of the limitations and potential risks (risk of providing a high rate
of false positives or false negatives to the States) of using the last four digits of the SSN
to verify the identity of an individual registering to vote.
      Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 14 of 23




APPENDIX A —Acronyms
APPENDIX B —Scope and Methodology
APPENDIX C —Verification Requests for Top 1G States
APPENDIX D —Help America Vote Verification Flowchart
APPENDIX E —Verification Programs
APPENDIX F —House Committee Members Concerns Regarding the Help America
            Vote Act of 2002
APPEMDIX   6 —GIG   Contacts and Staff Acknowledgments
       Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 15 of 23




Acro ny         s
                    American Association of Motor Vehicle Administrators

  BSQ               Business Services Online

  l3H8              Department      of Homeland     Security

  l3oB              Date of Birth

  EAC               Election Assistance Commission

  EIN               Employer identification   Number

  EIF               Employer Identification       File

  FY                Fiscal Year

  HAVA              Help AITleflCB Vote Act   of 2002
  HAVV              Help America Vote Verification

  I   EA            Information     Exchange Agreement

  MADAM             Master l3ata Access Method

  MVA               Motor Vehicle Administration

                    Personal Identification   Number

  Pub. L. No.       Public Law Number

  SSA               Social Security Administration

                    Social Security Number

  SSNVS             Social Security Number Verification Service

  SSGLV             Social Security Gnline Verification

  TNC               Tentative Nonconflrmatlon
        Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 16 of 23




Scope             nd Methodology
To accomplish our objective, we:

    Reviewed pertinent sections of the Social Security Administration's (SSA) policies
    and procedures as well as other relevant Federal laws and regulations.

    Reviewed Office of the inspector General reports, Government               Accountability    Office
    reports and other relevant documents.

    Obtained and analyzed Help America Vote Verification (HAVV) transactions
    processed in Fiscal Year (FY) 2008.
I   Obtained and reviewed FY 2008 management information reports for the HAVV,
    E-Verify, Social Security Number Verification Service (SSNVS), and Social Security
    Online Verification (SSGLV).

    Obtained and analyzed the matching criteria SSA uses for the following verification
    programs: HA~, E-Verify, SSNVS, and SSGLV.

    Spoke   with staff from SSA and the Election Assistance Commission               to gain a better
    understanding of the He/p America Vote Act of 2002 requirements.

Because of time constraints, we                                controls over the HAVV
                                      did not review the internal
program. We conducted limited testing to determine whether the data provided were
reliable for the purpose of our review. The entities audited were the Offices of Earnings,
Enumeration and Administrative Systems within the Office of the Deputy Commissioner
for Systems and Financial Policy and Operations within the Office of the Deputy
Commissioner of Operations. We performed our review in Philadelphia, Pennsylvania,
between January and March 2009 in accordance with the President's Council on
Integrity and Efficiency's'ua/ity   Standards for /nspections.




  In January 2009, the President's Council on Integrity and Efficiency was superseded by the Council of
the Inspectors General on Integrity and Efficiency, inspector Generai Reform Act of 2008, Pub. L. No
110-409 g 7, 5 0 S C. App 3 g 11.
       Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 17 of 23




Verific tion Requests for Top 10 St t s
In Fiscal Year (FY) 2008, 41 States and territories submitted about 7.7 million
verification requests for Help America Vote Verification (HAVV) program. Of the
7.7 million verification requests, the Social Security Administration (SSA) provided a
match response for 5.3 million (69 percent) and a no-match response for 2.4 million
(31 percent). The top 10 States that submitted verification requests accounted for
approximately 85 percent of the 7.7 million transactions submitted during FY 2008. We
found that Georgia submitted the most verification requests (about 2 million), and
Nevada received the highest number of no-match responses (about 716,000), which
represented 96 percent of its total verification requests, see Table 1 below.




      1 Georgia               1,956,464 1,690,773          265,691
      2 Alabama               1,037,372    910,901         123,929
      3 Nevada
          I
                                744,913     28,661         716,252
     Q4 Ohio                    741,132 450,833            289,603        39

     ~5 Indiana
        California
      7 North Carolina
                                415,517, 357,477
                                410,777  l
                                           «8,409
                                395,155 320,297
                                                            57,887
                                                           292,324
                                                            74,797
                                                                          14
                                                                          71
                                                                          19
      8 New York                337,940    243,366          94,561        28
      9 Pennsylvania            262 054    189 770          72,137        28
     10 New Jersey              205,300  i
                                           136,332          68,939   ~
                                                                          34
              Total           6,606,624 +4,446,619 i     2,066,120   I    32
       Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 18 of 23




Help A          erica Vote Verific tion Flo ch                              rt
The Help America Vote Verification (HAVV) is an online program that allows       States'otor




        Vehicle Administrations (MVA) to submit the required voter applicant information
for verification. The Social Security Administration (SSA) receives the verification
information from the American Association of Motor Vehicle Administrators (AAMVA),
which receives the data from each State's MVA. The entity jointly serves the interests
of all MVAs and SSA by serving as an electronic information conduit between the MVAs
and SSA. HAVV uses the last four digits of the Social Security number (SSN) to
perform the initial match against the Alphident. Then, HAVV matches the first six
characters of the first name, the first eight characters of the last name, and the month
and year of the date of birth. The resulting matched record(s) are then compared with
SSA's Numident   —                                   —
                     the repository of all issued SSNs using the full first and last names.
Based on these matches, SSA provides verification responses to the States that
indicate the following: (1) single match alive, (2) single match deceased, (3) multiple
matches alive, (4) multiple matches deceased, (5) multiple matches mixed, (6) no
match, or (7) invalid input data, system error.



                                                     Numident




                                                     Alphident




                                 AAMVA                  SSA   HAVV
         Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 19 of 23




Verific tion Progr ms
The Social Security Administration (SSA) has implemented several verification
programs that allow State agencies, employers, and third-party submitters to match the
names and Social Security numbers (SSN) of individuals with SSA's records. Below,
we describe (1) two verification programs offered to State Agencies-the Help America
Vote Verification (HAVV), and Social Security Online Verification (SSGLV) and (2) two
verification programs offered to employers and third-party submitters-the Social Security
Number Verification Service (SSNVS) and E-Verify

HAVV

SSA developed HAVV, which is an online program that allows States'otor Vehicle
Administrations (MVA) to verify new voter applicant" information.'AVV uses the last
four digits of the SSN to perform the initial match against the Alphident.'hen,      HAVV
matches the first six characlers of the first name, the first eight characters of the last
name, and the month and year of the date of birth (l3oB). The resulting matched
record(s) are then compared with SSA's Numident               —
                                                        the repository of all issued SSNs-
using the full first and last names. Based on these matches, SSA provides verification
responses to the States that indicate the following: ( i) single match, (2) single match
deceased, (3) multiple matches, (4) multiple matches deceased, (5) multiple mixed,
(6) no-match, or (7) unprocessed. Forty-six States have executed reimbursable Help
American Vote Act information Exchange Agreements (IEA) with SSA.

SSOLV

SSGLV allows State MVAs to verify names and SSNs of applicants for drivers'icenses
and State identification cards. SSGLV transactions are routed to SSA through a
nationwide MVA hub organization, known as American Association of Motor Vehicle
Administrators (AAMVA). Currently, 48 States have executed reimbursable SSGLV
lEAs with SSA.




 HAVV only venfies individuals    who do not have a State drivers'icense   or identification   card

  SSA receives the verification information from AAMVA, which receives the data from each State's MVA
SSA determined it was most appropriate for SSA to provide the required verification services by
interacting electronically with only one entity. The entity assists all MVAs and SSA by serving as an
electronic information   conduit between them

 The Alphident is a database that contains records that allow SSA to search its master file of all assigned
SSNs.
        Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 20 of 23




SSNVS

SSNVS is an online program,      with a batch option, that allows employers and third party
submitters   to verify employees'ames and SSNs. The purpose of SSNVS is to ensure
employees'ames and SSNs match SSA's records before their wage reports are
submitted to SSA. Employers and third-parties must first register online at SSA's
Business Services Gnline (BSG) website to use this service. Following registration,
SSA will mail an activation code,'hich is a code needed to gain access to SSNVS,
directly to the company's address shown in SSA's Employer Identification File                   (EIF).'nce




        the registered users activate SSNVS using their personal identification number
(PIN)'nd the activation code, they can start submitting verifications. Registered users


       Submit up to IQ employee names and SSNs (per screen) via the online SSNVS
       ancl f'Bcelve ImfTledlate I Bsults.
       Upload files containing up to 250,000 employee names and SSNs and usually
       receive verification results the next government business day. This bulk
       procedure allows employers to verify an entire payroll database or verify at one
       time the names and SSNs of a large number of newly hired workers.

SSA will return a verification code to the employer for each employee whose information
does not match SSA's record. In addition to the verification code, SSA provides a death
indicator if the employee's Numident'ecord     includes a date of death.

E-Verify

E-Verify, formerly known as the Basic Pilot/Employment       Eligibility Verification, is a
Department of Homeland Security (DHS) program whereby participating employers
verify whether newly-hired employees are authorized to work in the United States under
lnllYllgf'at!on Iaw. SSA suppofts DHS In Gpef'atlflg this program. Employels fTlust


 Before June 2, 2005, SSNVS was a pilot that was restricted to a limited number of employers.

  The activation code is an alphanumeric code sent by SSA to the employer or registered PIN holder (if
self-employed) when access to certain services is requested. This code must be entered on the Activate
Access to i3SQ Service web page to enable the user to access the requested service.

 The EIF is an Internal Revenue Service file that contains the Employer Identification Number of a
business and the employer name and address associated with each Employer Identification Number

 The PIN is a unique value issued by SSA to the applicant at registration,   which must be entered to gain
access to SSNVS.

  The Numident is a record of identifying information (such as name, l3oB, date of death, mother's maiden
name, etc.) provided by the applicant on his or her Appiication for a Sociai Security Number (Form SS-5)
for an original SSN and subsequent applications for replacement SSN cards. Each record is housed in
the Numident Master File in SSN order.
         Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 21 of 23




register with DHS to access E-Verify. Participating employers input information about
the new hire, including the new hire's name, DoB, SSN, and whether the new hire
claims to be a U.S. citizen or work-authorized noncitizen (for noncitizens, the DHS-
issued alien or admission number is also entered), into the E-Verify program.

The information the employer submits via E-Verify is sent to SSA to verify the name,
SSN, and DoB against SSA's Numident records. SSA also provides DHS an indication
of U.S. citizenship, as recorded in SSA records. DHS confirms the current employment-
authorization for non-citizens.

If thedata input by the employer do not match the Numident, SSA sends a response to
E-Verify which, in turn, generates a message for the employer indicating there is a
discrepancy with SSA's records. This discrepancy is called an SSA Tentative
Nonconfirmation (TNC). The SSA TNC means that the information submitted by the
employer does not match SSA's records. At this stage of the process, the
nonconfirmation is tentative because the new hire may contest the SSA TNC.'o
contest an SSA TNC, the new hire must go to the SSA field office within 8 Federal
workdays to resolve the Numident discrepancy.




'n   SSA TNC does not necessarily mean that the new hire is not authonzed to work in the LI S. An SSA
TNC could be generated for a U.S. citizen or a work-authorized alien as well as an undocumented
worker.




                                                                                                  E-3
        Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 22 of 23




House Committe Members Concerns
Regarding the Help Americ Vote Act of 2002
On October 28, 2008, House Judiciary Committee Chairman John Conyers, Jr., House
Administration Committee Chairman Robert Brady, and respective Subcommittee
Chairs Jerrold Nadier and Zoe Lofgren sent correspondence to each State's Secretary
of State regarding voting issues." The letters highlighted their concerns about the Help
America Vote Act (HAVA) requirements and its impact on eligible voters. Specifically,
the letter stated the following.

       The Help America Vote Act (HAVA) requires states to implement statewide
       voter registration databases to ensure updated and accurate registration lists.
       Many problems exist with voter registration list maintenance, as most states
       update registration lists against change of address lists, the Department of
       Motor Vehicles records, the Social Security Administration records, and death
       and felon records, for example. Rigid matching requirements often result in
       erroneous removal of otherwise legitimate voters for clerical errors or incorrect
       information,    misspellings, and hyphenated  names, when processing voter
       registration data. There are reports that some of the new state registration
       systems are removing voters when discrepancies surface between their
       registration information and other official records, often because of errors
       outside voters'ontrol.




 State Preparation for the 2008 Election, Letter to the Honorable Max Maxfield, Secretary of State of
VVyoming,    co-signed by John Conyel 8, Ji', Chall man Qf the Judicial y Committee; Robel t Brady,
Chairman of the House Administration Committee; Jerrold Naddler, Chairman of the Subcommittee on the
Constitution, Civil Rights and Civil Liberties; and Zoe Lofgren, Chairwoman of the Subcommittee on
Elections, October 28, 2008.

 Pub L. No. 107-252 g 303, 42 U.S.C. gg 15483, 405(r)(8)
         Case 1:18-cv-04727-ELR Document 1-1 Filed 10/11/18 Page 23 of 23




OIG Contacts                    nd       St   ff Ackno       ledgments
DIG Contacts

     Cylinda McCloud-Keal,    Director

     Carol Madonna, Audit Manager




ln   addition to those named above:

     Vlrglnla Har ada, Auditor-ln-Charge

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